  AO 435          Case 4:10-cv-02386    Document 233 Filed in TXSD on 08/01/18 FOR
                                 ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS
                                                                                   Page 1 of 1
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                                                                TRANSCRIPT ORDER
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Tynan Buthod                                                                       (713) 229-1212                      8/1/2018
4. '(/,9(5< ADDRESS25(0$,/                                                        5. CITY                            6. STATE           7. ZIP CODE
Baker Botts LLP, 910 Louisana                                                      Houston                             TX                 77002
8. CASE NUMBER                               9. JUDGE                                                  DATES OF PROCEEDINGS
4:10-CV-2386                                 Lee H. Rosenthal                       10. FROM 7/13/2018            11. TO 7/13/2018
12. CASE NAME                                                                                        LOCATION OF PROCEEDINGS
Exxon Mobil Corp. v. United States                                                  13. CITY Houston              14. STATE Texas
15. ORDER FOR
u APPEAL                                     u      CRIMINAL                        u   CRIMINAL JUSTICE ACT               u   BANKRUPTCY
u   NON-APPEAL                               u      CIVIL                           u   IN FORMA PAUPERIS                  u   OTHER (Specify)

16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                 PORTIONS                                       DATE(S)                         PORTION(S)                            DATE(S)
u   VOIR DIRE                                                                       u   TESTIMONY (Specify Witness)

u   OPENING STATEMENT (Plaintiff)

u   OPENING STATEMENT (Defendant)

u   CLOSING ARGUMENT (Plaintiff)                                                    u   PRE-TRIAL PROCEEDING (Spcy)

u   CLOSING ARGUMENT (Defendant)

u   OPINION OF COURT

u   JURY INSTRUCTIONS                                                               u   OTHER (Specify)

u   SENTENCING                                                                     Motion Hearing                      7/13/2018
u   BAIL HEARING
                                                                               17. ORDER
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/s/ Tynan Buthod
19. DATE                                                                            PHONE NUMBER
8/1/2018
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